  8:05-cr-00173-JFB-FG3            Doc # 8   Filed: 04/28/05   Page 1 of 3 - Page ID # 11




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

United States of America,                          )
                                                   )      8:05CR173
                      Plaintiff,                   )
                                                   )
       vs.                                         )      DETENTION ORDER
                                                   )
Clint Ingalls,                                     )
                                                   )
                  Defendant.                       )

A. Order For Detention
   After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail
   Reform Act, the Court orders the above-named defendant detained pursuant to 18
   U.S.C. § 3142(e) and (i).

B. Statement Of Reasons For The Detention
   The Court orders the defendant’s detention because it finds:
     X By a preponderance of the evidence that no condition or combination of
         conditions will reasonably assure the appearance of the defendant as
         required.
     X By clear and convincing evidence that no condition or combination of
         conditions will reasonably assure the safety of any other person or the
         community.

C. Finding Of Fact
   The Court’s findings are based on the evidence which was presented in court and
   that which was contained in the Pretrial Services Report, and includes the following:
     X    (1) Nature and circumstances of the offense charged:
           X     (a) The crime:      Conspiracy and possession with intent to
                       distribute 500 grams or more of methamphetamine and more
                         than 500 grams cocaine; possession with intent to distribute
                         less than 50 grams methamphetamine          is a serious crime
                     and carries a maximum penalty of 0 to life          imprisonment.
                 (b) The offense is a crime of violence.
             X (c) The offense involves a narcotic drug.
                 (d) The offense involves a large amount of controlled substances, to
                     wit:


             (2) The weight of the evidence against the defendant is high.
      X      (3) The history and characteristics of the defendant including:
                   (a) General Factors:
                                The defendant appears to have a mental condition which
                                may affect whether the defendant will appear.
                                The defendant has no family ties in the area.
  8:05-cr-00173-JFB-FG3    Doc # 8    Filed: 04/28/05   Page 2 of 3 - Page ID # 12


DETENTION ORDER - Page 2

                            The defendant has no steady employment.
                            The defendant has no substantial financial resources.
                            The defendant is not a long time resident of the
                            community.
                            The defendant does not have any significant community
                            ties.
                            Past conduct of the defendant:



                            The defendant has a history relating to drug abuse.
                            The defendant has a history relating to alcohol abuse.
                     X      The defendant has a significant prior criminal record.
                            The defendant has a prior record of failure to appear at
                            court proceedings.
               (b) At the time of the current arrest, the defendant was on:
                            Probation
                            Parole
                            Release pending trial, sentence, appeal or completion of
                            sentence.
               (c) Other Factors:
                            The defendant is an illegal alien and is subject to
                            deportation.
                            The defendant is a legal alien and will be subject to
                            deportation if convicted.
                            The Bureau of Immigration and Customs Enforcement
                            (BICE) has placed a detainer with the U.S. Marshal.
                            Other:



    X    (4) The nature and seriousness of the danger posed by the defendant’s
             release are as follows:
               Six felony offenses pending in three separate jurisdictions



     X   (5) Rebuttable Presumptions
             In determining that the defendant should be detained, the Court also
             relied on the following rebuttable presumption(s) contained in 18 U.S.C.
             § 3142(e) which the Court finds the defendant has not rebutted:
           X    (a) That no condition or combination of conditions will reasonably
                    assure the appearance of the defendant as required and the
                    safety of any other person and the community because the Court
                    finds that the crime involves:
                              (1) A crime of violence; or
                       X      (2) An offense for which the maximum penalty is life
                                  imprisonment or death; or
  8:05-cr-00173-JFB-FG3       Doc # 8    Filed: 04/28/05   Page 3 of 3 - Page ID # 13


DETENTION ORDER - Page 3

                              (3) A controlled substance violation which has a
                                   maximum penalty of 10 years or more; or
                              (4) A felony after the defendant had been convicted of
                                   two or more prior offenses described in (1) through
                                   (3) above, and the defendant has a prior conviction
                                   for one of the crimes mentioned in (1) through (3)
                                   above which is less than five years old and which
                                   was committed while the defendant was on pretrial
                                   release.
                 (b) That no condition or combination of conditions will reasonably
                     assure the appearance of the defendant as required and the
                     safety of the community because the Court finds that there is
                     probable cause to believe:
                              (1) That the defendant has committed a controlled
                                   substance violation which has a maximum penalty of
                                   10 years or more.
                              (2) That the defendant has committed an offense under
                                   18 U.S.C. § 924(c) (uses or carries a firearm during
                                   and in relation to any crime of violence, including a
                                   crime of violence, which provides for an enhanced
                                   punishment if committed by the use of a deadly or
                                   dangerous weapon or device).

D. Additional Directives
   Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
         1. The defendant be committed to the custody of the Attorney General for
              confinement in a corrections facility separate, to the extent practicable
              from persons awaiting or serving sentences or being held in custody
              pending appeal; and
         2. The defendant be afforded reasonable opportunity for private
              consultation with counsel; and
         3. That, on order of a court of the United States, or on request of an
              attorney for the government, the person in charge of the corrections
              facility in which the defendant is confined deliver the defendant to a
              United States Marshal for the purpose of an appearance in connection
              with a court proceeding.

DATED: April 28, 2005.

                                               BY THE COURT:


                                               s/ F. A. Gossett
                                               United States Magistrate Judge
